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     STATE OF MAINE                                                    SUPERIOR COURT
     CUMBERLAND, ss.                                                   CIVIL ACTION
                                                                       DOCKET NO.



     ATLANTIC GREAT DANE, INC.,

          Plaintiff

     V.                                                                  COMPLAINT

     THE NETHERLANDS INSURANCE
     COMPANY,

          Defendant



              NOW COMES the Plaintiff Atlantic Great Dane, Inc., by and through its counsel,

     Norman, Hanson & DeTroy, and complains against the Defendant The Netherlands

     Insurance Company (hereinafter "Netherlands") as follows:

              1.      The Plaintiff Atlantic Great Dane is a corporation organized under the laws

     of the State of Maine with its principal place of business in the City of South Portland,

     County of Cumberland, State of Maine.

              2.      The Defendant Netherlands is an insurance company authorized to

     conduct business in the State of Maine and issues insurance policies to various

     companies in the State of Maine, including Atlantic Great Dane.

              3.      Atlantic Great Dane is a full service Great Dane distributor providing sales,

     service, parts and rental to the transportation industry.
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      4.        Atlantic Great Dane purchases refrigeration units from CT Power for

delivery to Great Dane manufacturing sites. Those refrigeration units are installed onto

trailers that once complete are delivered to Atlantic Great Dane customers.

      5.     The payment arrangement Atlantic Great Dane has with CT Power is that

payment to CT Power is made once Atlantic Great Dane gets paid from its customer.

      6.        An Atlantic Great Dane Accounts Payable employee, Kathy Rumpf, was in

e-mail correspondence about the status of outstanding invoices with Shelby Grout from

CT Power. E-mail is the primary form of communication between Kathy Rumpf and

Shelby Grout.

      7.        On January 28, 2019, Kathy Rumpf at Atlantic Great Dane had a check

issued to CT Power in the amount of $480,106 in payment of several invoices.

      8.        Kathy Rumpf at Atlantic Great Dane received an e-mail purportedly from

Shelby Grout from CT Power requesting that Atlantic Great Dane use an alternative

payment method, and provided Atlantic Great Dane with wiring instructions, which

resulted in a wire transfer in the amount of $480,106 on January 29, 2019.

      9.     Kathy Rumpf at Atlantic Great Dane received e-mails on February 4th and

5th purportedly from Shelby Grout stating that Bank of America was holding the money

and CT Power was going to return the money so Atlantic Great Dane could wire the

funds to a different account. This communication made Kathy Rumpf suspicious,

prompting a telephone communication between Atlantic Great Dane and CT Power at
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b




    which time Atlantic Great Dane learned that CT Power had never requested that funds

    be wired and never sent wiring instructions.

           10.     An examination of the e-mails between Kathy Rumpf at Atlantic Great

    Dane and Shelby Grout showed that the e-mail address changed in the e-mail chain

    from sgrout@ctpower.com to sgrout@ctpowers.com . See email chain attached as

    Exhibit A.

           11.     The $480,106 wired per the e-mail instructions from "s. grout" were not

    recoverable.

           12.     At the time of all material events, Atlantic Great Dane had in place a

    commercial insurance policy issued by Netherlands providing various coverages,

    including but not limited to commercial property coverage and commercial crime

    coverage.

           13.     Atlantic Great Dane promptly provided notice of its loss to Netherlands on


    February 6, 2019.

           14.     Following its investigation, Netherlands issued a denial of coverage letter

    dated February 26, 2019 with subsequent follow-up denial letters dated April 25, 2019

    and May 16, 2019.

           15.     Atlantic Great Dane retained counsel to evaluate the denials, which

    counsel sent an explanation on June 21, 2019 of the reasons Netherlands' decision was


    in error.




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       16.         By letter dated July 18, 2019, counsel for Rletherlands reaffirmed the

denial of coverage, but did acknowledge that the Crime General Provisions Form (CR 10

00 10 90) was mistakenly absent from the policy and should be included.

                                             COIJNT i
                                       (Breach ®f Contrac$)

      17.       The Plaintiff repeats and realleges Paragraphs 1 through 16 as if fully set

forth herein.

      18.       The Netherlands insurance policy contained a separate "Commercial Crime

Coverage Part" specifying the forms applicable to that coverage part. The form

specifically listed as applicable to the Commercial Crime Coverage Part included Form

CR 00 07 10 90 titled "Computer Fraud Coverage Form (Coverage Form F)". An accurate

copy of this form is attached to this Complaint as Exhibit B.

      19.       The Computer Fraud Coverage Form provides coverage for loss of Covered

Property resulting directly from a Covered Cause of Loss. Covered Property includes

"money", and Covered Cause of Loss includes "Computer Fraud".

       20.      The term "Computer Fraud" is defined in the Computer Fraud Coverage

Form as follows:

      3. Additional Definitions.

             (b)     "Computer fraud" means "theft" of property following and
                     directly related to the use of any computer to fraudulently
                     cause a transfer of that property from inside the "premises" or
                     "banking premises" to a person (other than a"messenger")




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                 outside those "premises" or to a place outside those
                 "premises."

         21.   Although not specifically listed as an applicable form in the declarations

for the Commercial Crime Coverage Part, Netherlands has acknowledged that Form

CR 10 00 10 90 titled "Crime General Provisions" was intended to be included in the list

of applicable forms and should be considered part of the Commercial Crime Coverage

Pa rt.

         22.   The funds lost by Atlantic Great Dane constitute "money" as defined in the

Netherlands insurance policy.

         23.   The term "theft" is defined in Section D(3)(f) of the Computer Fraud

Coverage Form to mean "any act of stealing".

         24.   The loss of the funds sent by wire transfer constituted "theft" as defined in

the Netherlands policy.

         25.   The unknown thief used a computer to facilitate and accomplish the

fraudulent transfer of funds from the account of Atlantic Great Dane to the account

identified by the thief.

         26.   The "theft" of funds from Atlantic Great Dane followed and was "directly

related to" the use of a computer to fraudulently cause the transfer of those funds.

         27.   Netherlands breached its contract with Atlantic Great Dane in its various

denial letters in taking the following positions:




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      (a)   Netherlands improperly relied upon the "voluntary parting" exclusion

            located in an entirely separate coverage part, i.e. the Commercial Property

            Coverage Part, which by the express terms of the insurance policy is

            inapplicable to the Commercial Crime Coverage Part.

      (b)   Netherlands' improperly concluded that the term "Computer Fraud"

            defined in Form CR 00 07 10 90 requires actual "hacking" into an Atlantic

            Great Dane computer, when that definition requires only "the use of any

            computer to fraudulently cause a transfer" of property, and is not expressly

            or impliedly limited to "uses" that constitute actual "hacking". Although

            "hacking" is not a prerequisite to coverage, Atlantic Great Dane does

            believe that "hacking" was involved.

      (c)   Netherlands' improperly concluded that the theft of the property was not

            "following and directly related" to the fraudulently disguised e-mails

            received by Atlantic Great Dane, when the wire transfer in the amount of

            $480,106 was sent "following" receipt of the fraudulent e-mail in direct

            response to the fraudulent e-mail, and for no other reason.

      28.    Netherlands' breach of contract has caused Atlantic Great Dane damages

in the form of the insurance payment due under the contract, other consequential


damages, attorney's fees and costs.




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       WHEREFORE, Atlantic Great Dane requests thatjudgment be entered in its favor

against Netherlands for damages, attorney's fees, costs and such other relief as the

Court deems appropriate.

                                           cC®UIVT 11
                (i`9nfair Claims Settlement Practices - 24-A MoRaSoAo § 2436-A)

       29.      The Plaintiff repeats and realleges Paragraphs 1 through 28 as if fully set

forth herein.

       30.       Netherlands knowingly misrepresented to Atlantic Great Dane the policy

provisions relating to the coverage at issue within the meaning of Section 2436-A(1)(A),

by making the following misrepresentations:

       (a)      Misrepresenting to Atlantic Great Dane that the "voluntary parting"

                exclusion in an entirely separate coverage part, i.e. the Commercial

                Property Coverage Part, applies to the Commercial Crime Coverage Part.

       (b)      Misrepresenting that the term "Computer Fraud" defined in Form CR 00 07

                10 90 requires actual "hacking" into an Atlantic Great Dane computer,

                when that definition requires only "the use of any computer to fraudulently

                cause a transfer" of property, and is not expressly or impliedly limited to

                "uses" that constitute actual "hacking".

      (c)       Misrepresenting that the phrase "directly related to" means the same thing

                as "resulting directly from" or "directly caused by", with the result that no

                loss could be "directly related" to a fraudulent e-mail in any case in which



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             the e-mail fraudulently induced the insured to take an action resulting in

             the loss.




      31.     Netherlands, without just cause, refused to effectuate prompt, fair and

equitable settlement of the claim in which liability has become reasonably clear, within

the meaning of 2436-A(1)(E), by engaging in the following acts:

       (a)    Denying coverage based on the "voluntary parting" exclusion when that

              exclusion clearly has no applicability to the Commercial Crime Coverage

              Part and the Computer Fraud Coverage;

       (b)    Fabricating a"hacking" requirement under the definition of "Computer

              Fraud" that is not expressly or impliedly included in the definition;

       (c)    Taking the untenable position that the phrase "directly related to"

              somehow means the same thing as the entirely different phrases

              "resulting directly from" or "directly caused by".

       32.    Atlantic Great Dane has sustained damages as a result of Netherlands'

violation of 2436(1)(A) and (E).

       WHEREFORE, Atlantic Great Dane requests that it be awarded damages,

attorney's fees, costs and interest at the rate of 1%% per month.




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      DATED at Portland, Maine, this 21st day of October 2019.




                                James ,t. Poliquin (Bar No. 2474)
                                At   ney for Plaintiff



NORMARI, HAIVSORI & DETROY, LLC
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Portland, I\/IE 04112-4600
(207) 774-7000
jpoliquin@nhdlaw.com




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                                                                                                 EXH161—T—
To- Shelby Grout
Subject: RE: Payment

it has already gone in tile mail this morning




From: Shelby Grou <sgrout@ctpowers.com>
                                .a
Sent- Monday, january
To: Kathy Rui-npf <krumpf@atIanticgreatdane.com>
SLibiect: Re: Payment

Katl-Ly,

COLIldyoti please void/cancelled thecheck irnmediatelyand remit viii wire transfer to otir alternatives bank
account.
Kindly cot-ifirm ti-ie check cancellation so tl-iat i can provide you ttic bank details.

Waiting for your ur-ent
                   0    reply.

Thank YOLI,




Co-rporate Administratii)e Assistant
CT Power, Deiiver



From: Kathy Rumpf <krumqf@atlantIcRreatdanexorn>
Sent. Monday, January 28, 2019 7:3938 AM
To: Shelby Grout
Subject- RE: Payment

I cut a check (29785) this morning covering the invoices detailed below,
011001805
011001837
011001803
011001836

$480,106.00

Kathy

Katlileen A. Rumpf
Office Manager
Accounts Receivable
Accoutits Payable Specialist

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`   Aflantic Great Qane,9nc.
    2 Hemco Road
    South Portland, Maine 94106
    Tel: 207-799-4700
    Email: krumpf@atlanticgreatdane.com



                             ----__,                                   ~
    From: Shelby Grouf <sgroutC- ctpovsrers.com>
    Serrt: Monday, Januar
    Tea: Kathy Rumpf <kr_ umpyC~
                               a atlantic reatdane.com>
    Subject: Re: Payrrsent
    Hrqniportawce: High

    Kathy,

    Our operational account with is currently ttnder audit, as a result we cannot pracess any payinents at tl-ie
    mometit. Could ynLk kindly retnit p;lyment to our altern,itiw, account details?

    Plcase advise d-ie exact payment date so'that we can pravide you the sulisicliary accaunt details.

    Waititig for your ciuiclt reply.

    1-111n1: youa




    Corporate Adrriini,stactttve Assistant
    CT PoNver, Denver



    Frmsvr: She{by Grou <sgrout ctprrwer.com>
    Sent: iVkonday, .tanuary 2 ,
    1'o: Kafihy Rumlaf
    Stabjec•to RE: Payment

    Also, la.ave tlze trailers been delivered to the end user PFG liouse?

    Thank you,




    Corporare Admintstrutive Assistant
    CT Power, Deni?er




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Frorn: Shelby GrDUt
Sent: Monday, January 21, 2019 2:10 PM
TO:'Kathy Rumpf'
Subject: RE: Payment

Katl-iy,

Do yoLi by chaiice have aii estiiiiated tinie oii fi-itidiiig?
                                                            2~




TI-tatik you,



           ~rcrrl
Corporate Aclministrative Assistant
CT Power, Denver




From., Kathy Rumpf [mailto.-krumpf(cDatianticcireatdane.comI
Sent: Monday, January 21, 2019 12:23 PM
To, Shelby Grout
Subject- RE: Payment

Good Afternoon,

We have not been funded the money forthe Trailers that the units are attached ,

Kathy

Kathleen A. Rumpf
Office Manager
Accounts Receivable
Accounts Payable Specialist
Atlantic Great Dane,inc.
1 Hemco Road
South Portland, Maine 04106
Tel: 207-799-4700
Email: krumpf@atlanticgreatdane.com




From: Shelby Grout <sgrout@ctpower.com>
Sent: Monday, January 21, 2019 12:05 PM
To: Kathy Rumpf <krurn;)f@atlanticgreatdane.com>
Subject: RE- Payment


Good Morning Kathy,

May I please receive paymeiit status for the below invoices?
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                                                          CR 00 07 10 90

                                 C®MPUTER IFRAUI® C®VERAGE F®RIVI
                                                     (Covea-age Fou-m F)
     A. COVERAGE                                                            2. Additional Conditions
        We will pay for loss of, and loss from damage to,                        a. Duties in the Event of Loss: If you have
        Covered Property resulting directly from the                                reason to believe that any loss of, or loss
        Covered Cause of Loss.                                                      from damage to, Covered Property
        1. Covered Property: "Money," "Securities" and                              involves a violation of law, you must notify
           "Property Other Than Money and Securities."                              the police.
        2. Covered Cause of Loss: "Computer Fraud."                              b• Special Limit of Insurance for
                                                                                    Specified Property: We will only pay up
    B. LIMIT OF INSURANCE
                                                                                    to $5000 for any one "occurrence" of loss
        The most we will pay for loss in any one                                    of,   and loss       from    damage to,
        "occurrence" is the applicable Limit of Insurance                           manuscripts, drawings or records of any
        shown in the DECLARATIONS.                                                  kind or the cost of reconstructing them or
     C. DEDUCTIBLE                                                                  reproducing any information contained in
         We will not pay for loss in any one "occurrence"                           them.
         unless the amount of loss exceeds the Deductible                   3. Additional Definitions
         Amount in the DECLARATIONS. We will then pay                            a. "Banking Premises" means the interior of
         the amount of loss in excess of the Deductible                             that portion of any building occupied by a
         Amount, up to the Limit of Insurance. In the event                         banking institution or similar safe
         more than one Deductible Amount could apply to                             depository.
         the loss, only the highest Deductible Amount may
                                                                                 b. "Computer Fraud" means "theft" of
         be applied.
                                                                                    property following and directly related to
     D.. ADDITIOIdAL EXCLUSIONS, CONDITIONS AND                                     the use of any computer to fraudulently
          DEFINITIONS: In addition to the provisions in the                         cause a transfer of that property from
          Crime General Provisions, this Coverage Form is                           inside the "premises" or "banking
          subject to the following:                                                 premises" to a person (other than a
        1. Additional Exclusions: We will not pay for                               "messenger") outside those "premises" or
           loss as specified below:                                                 to a place outside those "premises."
             a.   Acts of Employees, Directors, Trustees                         c. "Messenger" means you, any of your
                  or Representatives: Loss resulting from                           partners or any "employee" while having
                  any dishonest or criminal act committed                             care and custody of the property outside
                  by any of your "employees," directors,                              the "premises."
                  trustees or authorized representatives:                        d. "Occurrence" means an:
                  (1) Acting alone or in collusion with other                         (1) Act or series of related acts involving
                      persons; or                                                         one or more persons; or
                  (2) While performing services for you or                            (2) Act or event, or a series of related
                      otherwise.                                                          acts or events not involving any
             b. Inventory Shortages: Loss, or that part                                   person.
                of any loss, the proof of which as to its                        e.   "Premises" means the interior of that
                existence or amount is dependent upon:                                portion of any building you occupy in
                  (1) An inventory computation; or                                    conducting your business.
                  (2) A profit and loss computation.                             f.   "Theft" means any act of stealing.




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